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Case 3:08-cr-00152-N Document 235 Filed 10/30/08 Pet}gev§tlz§ei§a NDBFJR§§§§:;; IEXAS

  

§AO 2458 (Rev. 12/03) Judgment in a Criminal Case WFIE=JF-tl
Sheet l TXND Mod - 09/28/04

 

OCT 3 ll 2008

    
  

UNITED STATES DISTRICT C0 RT
NOl'th€l'll District of Texas -Dallas iv§'sli'§xiu§\ U»S Dl *‘

 

 

 

 

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UNITED STATES OF AMERICA JUDGMENT IN A dRIMINA y E)`cputy
LAKENDRA IRENE AVERY Case Number: 3:08-CR-152-N (12)
USM Number:38245-l77
a/k/a "Kendra" Roderick C. White

 

Defendant’s Attorney

THE DEFENDANT:
m pleaded guilty to count(s)

pleaded guilty to count(s) before a U.S. l of the superseding information filed July 21, 2008
Magistrate Judge, which was accepted
by the court.

 

pleaded nolo contendere to count(s)
which was accepted by the court.

 

was found guilty on count(s)
after a plea ofnot guilty.

 

The defendant is adjudicated guilty ofthese offenses:

Title & Section Nature of Ofi'ense Offense Ended Count
21 USC § 843(b) Unlawful Use of Communication Facility January 25, 2008 l

The defendant is sentenced as provided in pages 2 through § ofthisjudgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984

 
  

- The defendant has been found not guilty on count(s)

-Count(s) remaining of the original indictment |:|is are dismissed on the motion of the United States.

 

It ls ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name residence,
or mailing address until all f1nes, restitution costs, and special assessments imposed by thisjudg_ment are fully paid. Ifordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances

   

Date o mposition of Judg

 

Signature of.ludge j
DAVID C. GODBEY

UNITED STATES DISTRICT JUDGE

Name and T le ®!/Eof]/\Ye%

 

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AO 245B (Rev. 12/03) Judgment in a Criminal Case
Sheet 4_Probation

Judgment_Page 2 of ______5__

 

DEFENDANT; LAKENDRA IRENE AVERY
CASE NUMBER; 3:08-CR-152-N (12)
PROBATION

Pursuant to the Sentencing Reform Act of 1984, but taking the Guidelines as advisory pursuant to United States v. Booker, and
considering the factors set forth in 18 U.S.C. Section 3553(a), the defendant is hereby sentenced to probation for a term of:
3 (Three) years on Count l.

The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use ofa controlled
substance. The defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug tests
thereafter, as determined by the court.

The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
future substance abuse. (Check, if applicable.)
The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)

The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

- The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
student, as directed by the probation officer. (Check, if applicable.)

|:| The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or restitution, it is a condition of probation that the defendant pay in accordance with the Schedule of
Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

STANDARD CONDITIONS OF SUPERVISION

l) the defendant shall not leave the judicial district without the permission of the court or probation officer;

2) the 1cliefendlt:nt shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
eac mont ;

3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4) the defendant shall support his or her dependents and meet other family responsibilities;

5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
acceptable reasons;

6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribu_te, or administer any controlled
substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
felony, unless granted permission to do so by the probation officer;

10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
contraband observed in plain view of the probation officer;

ll) the defendant shall notify the probation officer within seventy-two hours ofbeing arrested or questioned by a law enforcement officer;

12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
permission ofthe court; and

13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
defendant’s compliance with such notification requirement

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AO 245B (Rev. 12/03) Judgment in a Criminal Case
Sheet 4C - Probation

Judgment--Page 3 of 4

 

DEFENDANT; LAKENDRA iRENE AVERY
cAsE NUMBER; 3:08-CR-152-N (12)

SPECIAL CONDITIONS OF SUPERVISION

The defendant shall notify the court of any material change in the defendant’s economic circumstances that might affect the
defendant’s ability to pay restitution, fines or special assessments.

The defendant shall provide to the probation officer any requested financial information.

The defendant shall cooperate with the IRS, file all outstanding tax returns and comply with any IRS requirements to pay delinquent
taxes, penalties and interest according to the schedule of payments that the IRS imposes.

The defendant shall participate in a program (inpatient and/or outpatient) approved by the U. S. Probation Office for treatment of
narcotic, drug or alcohol dependency, which will include testing for the detection of substance use or abuse. The defendant shall
abstain from the use of alcohol and/or all other intoxicants during and afgter completion of treatment. The defendant shall contribute
to the costs of services rendered (copayment) at a rate of at least $10 per month.

The defendant shall participate in the Home Confinement Program for a period of 180 consecutive days. During this time, the
defendant is continuously restricted to her place of residence except for authorized absences approved in advance by the probation
officer. The probation officer may approve absences for gainful employment, religious services, medical care, education and training
programs and other activities. Electronic monitoring may be used to monitor compliance with this special condition and may include
remote location monitoring using Global Positioning Satellite (GPS) tracking. The defendant shall contribute to the costs of the
monitoring services rendered (copayment) at a rate of at least $3.18 per day, not to exceed the total cost per day of the monitoring
services.

 

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AO 2453 (Revs 12/03) Judgment in a Criminal Case
Sheet 5 _ Criminal Mon etary Penalties TXND Mod 2 - 09/28/04

Judgment _ Page 4 of 5

DEFENDANT: LAKENDRA IRENE AVERY
cAsE NUMBER: 3:08-CR-152-N (12)
CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule ofpayments on Sheet 6.

Assessment Fine Restitution
TOTALS $ 100.00 $ 0.00 $ 0.00

The determination ofrestitution is deferred until . An Amended Judgment in a Cri'minal Case (AO 245C) will be entered
after such determination

The defendant must make restitution (including community restitution), payable to the U.S. District Clerk to be disbursed to the
following payee(s) in the amount(s) listed below.

Ifthe defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
before the United States is paid.

Name of Payee Restitution Ordered Priority or Percentage
TOTALS $

|:::| Restitution amount ordered pursuant to plea agreement $

[:| The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date ofthe judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

E The court determined that the defendant does not have the ability to pay interest and it is ordered that:

|:| the interest requirement is waived for the |:l fine |:| restitution.

|:| the interest requirement for the |:| fine |::|restitution is modified as follows:

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AO 245B (Rev. 12/03) Judgment in a Criminal Case
Sheet 6 _ Schedule of Payments TXND Mod 1 - 09/28/04

Judgment - Page 5 of __5_

 

DEFENDANT! LAKENDRA IRENE AVERY
CASE NUMBER: 3:08-CR-152-N (12)

SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A |:| Lump sum payment of $ due immediately, balance due

not later than , Or
in accordance C, D, E, or EF below; or

Payment to begin immediately (may be combined with [:| C, ED, or |:|F below); or

Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after the date ofthisjudgment; or

0 d

IE [:|l:|E

Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after release from imprisonment to a
term of supervision; or

Payment during the term of supervised release will commence within (e.g., 30 or 60 days) alter release from
imprisonment The court will set the payment plan based on an assessment ofthe defendant’s ability to pay at that time; or

Special instructions regarding the payment of criminal monetary penalties:

It is ordered that the defendant shall pay to the United States a special assessment of $l00, for Count l, which shall be
due immediately. Said special assessment shall be made to the Clerk, U. S. District Court.

Unless the court has expressly ordered otherwise, ifthisjudgment imposes imprisonment, ayment ofcriminal monetary penalties is due during
imprisonment All criminal monetary penalties, except those payments made throug the Federal Bureau of Prisons’ Inmate Financial
Responsibility Program, are made to the U.S. District Clerk, 1100 Commerce Street, 14th Floor, Dallas, Texas 75242.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

|:| Joint and Several

Defendant and Co-Defend ant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
and corresponding payee, if appropriate.

The defendant shall pay the cost of prosecution.

The defendant shall pay the following court cost(s):

EEE

The defendant shall forfeit the defendant’s interest in the following property to the United States: See Sheet 6B.

Payments shall be applied in the following order1 (l) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7)pena1ties, and (8) costs, including cost of prosecution and court costs.

 

